Case 1:15-cv-22463-MGC Document 72-1 Entered on FLSD Docket 02/17/2016 Page 1 of 5

Hydentra/Clover/Max Apps

7 messages

Pegg, Allen P. <allen.pegg@hoganlovells.com> Sat, Jan 9, 2016 at 8:54 AM
To: Aaron Behar <ab@beharbehar.com>, Spencer Freeman <sfreeman@freemanlawfirm.org>

Cc: Brady Cobb <bcobb@cobbeddy.com>, Christine Spire <cs@beharbehar.com>, Matthew Shayefar
<matt@bostonlawgroup.com>, Val Gurvits <vgurvits@bostonlawgroup.com>, "O'Sullivan, John F."
<john.osullivan@hoganlovells.com>, Jason Holman <jh@beharbehar.com>, Evan Fray-Witzer
<Evan@cfwlegal.com>, "Stemberg, Jason D." <jason.sternberg@hoganlovells .com>

Spencer and Aaron,

| understand Spencer’s been in touch with Matt Shayefar concerning the upcoming discovery cutoff and
other pretrial deadlines we have in this matter. As Matt mentioned to Spencer, on the defense side, we
believe the best course of action is to ask the Court to suspend all such pretrial deadlines until the Court has
ruled on the pending MTDs.

Attached is a draft Joint Motion. Please review and let us know whether Plaintiff will join the Motion and, if
so, whether you have any comments.

Allen P. Pegg
Hogan Lovells US LLP

allen.pegg@hoganlovells.com

(305) 459-6641

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am Joint Motion to Stay Pretrial Deadlines (01.09. 16).docx
33K

Spencer Freeman <sfreeman@freemanlawfirm.org> Sun, Jan 10, 2016 at 8:03 PM
To: "Pegg, Allen P." <allen.pegg@hoganlovells.com>, Aaron Behar <ab@beharbehar.com>

Cc: Brady Cobb <bcobb@cobbeddy.com>, Christine Spire <cs@beharbehar.com>, Matthew Shayefar
<matt@bostonlawgroup.com>, Val Gurvits <vgurvits@bostonlawgroup.com>, "O'Sullivan, John F."
<john.osullivan@hoganlovells.com>, Jason Holman <jh@beharbehar.com>, Evan Fray-Witzer
Case 1:15-cv-22463-MGC Document 72-1 Entered on FLSD Docket 02/17/2016 Page 2 of 5
<Evan@cfwlegal.com>, "Sternberg, Jason D." <jason.sternberg@hoganlovells .com>

Allen,

Matthew and | did speak about this issue and | agreed with him in concept, and also told him that we needed to
issue dep notices to cover our end just in case. | appreciate generally how neutrally the motion is drafted. |
would possibly like to add a line that Plaintiff disagrees with each Defendant position in the pending motions, but
agrees that the motions should be resolved before discovery and other pretrial tasks are done, other than our
requested jurisdictional discovery — which has yet to be ruled on. Also, you may want to check the date that
Clover filed its motion — it is represented as November 3, but | think it was September.

Other than that, | am good with this. However, will need to confer further with Aaron to be sure that there isn't
something that | have missed.

Regards,

Spencer

Spencer D. Freeman

Freeman Law Firm, Inc.

1107 1/2 Tacoma Avenue South
Tacoma, Washington 98402
253-383-4500

253-383-4501 (facsimile)

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From: Pegg, Allen P. [mailto:allen.pegg@hoganlovells.com]

Sent: Saturday, January 09, 2016 8:54 AM

To: Aaron Behar; Spencer Freeman

Cc: Brady Cobb; Christine Spire; Matthew Shayefar; Val Gurvits; O'Sullivan, John F.; Jason Holman; Evan Fray-
Witzer; Sternberg, Jason D.

Subject: Hydentra/Clover/Max Apps

[Quoted text hidden]

Pegg, Allen P. <allen.pegg@hoganlovells.com> Mon, Jan 11, 2016 at 8:06 AM
To: Spencer Freeman <sfreeman@freemanlawfirm.org>

Cc: Aaron Behar <ab@beharbehar.com>, Brady Cobb <bcobb@cobbeddy.com>, Christine Spire
<cs@beharbehar.com>, Matthew Shayefar <matt@bostonlawgroup.com>, Val Gurvits
<vgurvits@bostonlawgroup.com>, “O'Sullivan, John F." <john.osullivan@hoganlovells.com>, Jason Holman
Case 1:15-cv-22463-MGC Document 72-1 Entered on FLSD Docket 02/17/2016 Page 3 of 5

<jh@beharbehar.com>, Evan Fray-Witzer <Evan@cfwlegal.com>, "Sternberg, Jason D."
<jason.sternberg@hoganlovells.com>

Aaron,
Please share your thoughts as it would be best to get this on file today.

Allen P. Pegg
Hogan Lovells
allen.pegg@hoganlovells.com

(305) 459-6641
[Quoted text hidden]

Spencer Freeman <sfreeman@freemanlawfirm.org> Mon, Jan 11, 2016 at 12:43 PM
To: "Pegg, Allen P." <allen.pegg@hoganlovells.com>

Cc: Aaron Behar <ab@beharbehar.com>, Brady Cobb <bcobb@cobbeddy.com>, Christine Spire
<cs@beharbehar.com>, Matthew Shayefar <matt@bostonlawgroup.com>, Val Gurvits
<vgurvits@bostonlawgroup.com>, “O'Sullivan, John F." <john.osullivan@hoganlovells.com>, Jason Holman
<jh@beharbehar.com>, Evan Fray-Witzer <Evan@cfwlegal.com>, "Sternberg, Jason D.”
<jason.sternberg@hoganlovells.com>

Allen — you are good to file

Spencer D. Freeman

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mail and its attachments from your system. Thank you.

From: Pegg, Allen P. [mailto:allen.pegg@hoganlovells.com]

Sent: Monday, January 11, 2016 8:06 AM

To: Spencer Freeman

Cc: Aaron Behar; Brady Cobb; Christine Spire; Matthew Shayefar; Val Gurvits; O'Sullivan, John F.; Jason
Holman; Evan Fray-Witzer; Sternberg, Jason D.

Subject: Re: Hydentra/Clover/Max Apps

[Quoted text hidden]

Pegg, Allen P. <allen.pegg@hoganlovells.com> Mon, Jan 11, 2016 at 1:09 PM
To: Spencer Freeman <sfreeman@freemanlawfirm.org>

Cc: Aaron Behar <ab@beharbehar.com>, Brady Cobb <bcobb@cobbeddy.com>, Christine Spire
<cs@beharbehar.com>, Matthew Shayefar <matt@bostonlawgroup.com>, Val Gurvits
<vgurvits@bostonlawgroup.com>, “O'Sullivan, John F." <john.osullivan@hoganlovells.com>, Jason Holman
<jh@beharbehar.com>, Evan Fray-Witzer <Evan@cfwlegal.com>, "Sternberg, Jason D."
<jason.sternberg@hoganlovells.com>
Case 1:15-cv-22463-MGC Document 72-1 Entered on FLSD Docket 02/17/2016 Page 4 of 5

Spencer,

Thanks, but so I’m clear on this — you’re approving the joint motion as currently drafted, correct? We'll
change the November reference to September; appreciate you pointing that out.

Allen P. Pegg
Hogan Lovells US LLP

allen.pegg@hoganlovells.com

(305) 459-6641

From: Spencer Freeman [mailto:sfreeman@freemanlawfirm.org]

Sent: Monday, January 11, 2016 3:44 PM

To: Pegg, Allen P.

Cc: Aaron Behar; Brady Cobb; Christine Spire; Matthew Shayefar; Val Gurvits; O'Sullivan, John F.; Jason
Holman; Evan Fray-Witzer; Sternberg, Jason D.

Subject: RE: Hydentra/Clover/Max Apps

[Quoted text hidden]

Spencer Freeman <sfreeman@freemanlawfirm.org> Mon, Jan 11, 2016 at 1:12 PM
To: "Pegg, Allen P." <allen.pegg@hoganlovells.com>

Cc: Aaron Behar <ab@beharbehar.com>, Brady Cobb <bcobb@cobbeddy.com>, Christine Spire
<cs@beharbehar.com>, Matthew Shayefar <matt@bostonlawgroup.com>, Val Gurvits
<vgurvits@bostonlawgroup.com>, "O'Sullivan, John F." <john.osullivan@hoganlovells.com>, Jason Holman
<jh@beharbehar.com>, Evan Fray-Witzer <Evan@cfwlegal.com>, "Sternberg, Jason D."”
<jason.sternberg@hoganlovells.com>

Yes

Spencer D. Freeman

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From: Pegg, Allen P. [mailto:allen.pegg@hoganlovells.com]

Sent: Monday, January 11, 2016 1:10 PM

To: Spencer Freeman

Cc: Aaron Behar; Brady Cobb; Christine Spire; Matthew Shayefar; Val Gurvits; O'Sullivan, John F.; Jason
Holman; Evan Fray-Witzer; Sternberg, Jason D.

Subject: RE: Hydentra/Clover/Max Apps

[Quoted text hidden]

Pegg, Allen P. <allen.pegg@hoganlovells.com> Mon, Jan 11, 2016 at 1:13 PM
To: Spencer Freeman <sfreeman@freemanlawfirm.org>

Cc: Aaron Behar <ab@beharbehar.com>, Brady Cobb <bcobb@cobbeddy.com>, Christine Spire
<cs@beharbehar.com>, Matthew Shayefar <matt@bostonlawgroup.com>, Val Gurvits
<vgurvits@bostonlawgroup.com>, “O'Sullivan, John F.” <john.osullivan@hoganlovells.com>, Jason Holman
<jh@beharbehar.com>, Evan Fray-Witzer <Evan@cfwlegal.com>, "Sternberg, Jason D."”
<jason.sternberg@hoganlovells.com>

Thanks, we'll file now.

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allen.pegg@hoganlovells.com

(305) 459-6641

From: Spencer Freeman [mailto:sfreeman@freemanlawfirm.org]
Sent: Monday, January 11, 2016 4:12 PM

[Quoted text hidden]

[Quoted text hidden]
